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            IN THE UNITED STATES COURT OF FEDERAL CLAIMS

                          Filed Electronically: May 31, 2018

IDEKER FARMS, INC., et al.,          )
                                     )
            Plaintiffs,              )      Case No.: 1:14-cv-00183-NBF
      v.                             )
                                     )      Senior Judge Nancy B. Firestone
UNITED STATES OF AMERICA,            )
                                     )
            Defendant.               )


UNITED STATES’ RESPONSE TO PLAINTIFFS’ BRIEF REGARDING THE IMPACT
 OF ST. BERNARD PARISH ON PLAINTIFFS’ MOTION FOR RECONSIDERATION


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                                         INTRODUCTION

       The Court should reject Plaintiffs’ narrow interpretation of St. Bernard Parish because it

misconstrues the holding and applicability of binding precedent. 1 Plaintiffs state it is

“impossible” to show that the risk of flooding would be “greater after the construction of the

System dams than beforehand.” Pls.’ Reply 33. Yet, St. Bernard Parish compels the Court to

consider whether the flooding would have been greater in light of all government actions that

impact flooding on plaintiffs’ properties. Indeed, Plaintiffs add to this mistake in their motion

for reconsideration by asking this Court to ignore the United States’ flood-reducing actions—

namely, the construction of reservoirs, the implementation of the Bank Stabilization and

Navigation Project, and the construction and repair of hundreds of miles of levees—even though

Plaintiffs admit those actions greatly benefit their properties: the very actions that St. Bernard

Parish holds must be considered. Plaintiffs invite the Court to commit clear legal error.

                                           ARGUMENT

       The Federal Circuit’s decision in St. Bernard Parish dictates that this Court should deny

Plaintiffs’ motion for reconsideration for two independent reasons. First, Plaintiffs’ proof of

causation failed to account for all of the United States’ actions that mitigated the impact of

flooding on their properties. Second, Plaintiffs’ case depends, in part, on the United States’

alleged failure to act, which cannot serve as the basis of takings liability.




1
 The Federal Circuit’s decision in St. Bernard Parish dictates that all of Plaintiffs’ claims be
dismissed, not just claims for flooding in 2011. This is the subject of the United States’ pending
motion for reconsideration of the Court’s trial opinion. U.S. Mot. for Recons., ECF No. 435.
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I.     The Causation Standard Requires Consideration of All Government Actions That
       Impact Flooding on Plaintiffs’ Property.

       As explained in St. Bernard Parish, the element of “[c]ausation requires a showing of

‘what would have occurred’ if the government had not acted.” St. Bernard Parish v. United

States, 887 F.3d 1354, 1362 (Fed. Cir. 2018) (quoting United States v. Archer, 241 U.S. 119, 132

(1916)); accord United States v. Sponenbarger, 308 U.S. 256, 266 (1939) (a takings plaintiff

must prove that the government subjected his land to “additional flooding, above what would

[have] occur[red] if the Government had not acted”). The Federal Circuit further held that when

considering the comparative, no-government action condition, it is legal error for a plaintiff to

focus on “isolated government actions” because the “causation analysis must consider the impact

of the entirety of government actions that address the relevant risk.” St. Bernard Parish, 887

F.3d at 1364-65 (citing several “cases [that] establish that the causation analysis must consider

the impact of the entirety of government actions that address the relevant risk,” including

Arkansas Game & Fish Commission v. United States, 736 F.3d 1364 (Fed. Cir. 2013), and John

B. Hardwicke v. United States, 467 F.2d 488 (Ct. Cl. 1972) (emphasis added)).

       a.      To prove causation, Plaintiffs must consider “all” government actions that
               impact flood control regardless of the order of the actions.

       Despite the clarity afforded by St. Bernard Parish, Plaintiffs claim the Federal Circuit

excepted cases like Ideker from its holding. Pls.’ Reply 30. Plaintiffs rest their argument on the

proposition that St. Bernard Parish “did not address scenarios like Ideker where the government

action increasing the risk of flooding came after government action reducing such a risk.” Id.

Plaintiffs are wrong. They base their argument on a misinterpretation of the Federal Circuit’s

brief discussion of the John B. Hardwicke case, and ignore the main holding of St. Bernard

Parish. The Federal Circuit acknowledged that John B. Hardwicke had “suggested” such a rule,

but it made clear that this aspect of John B. Hardwicke was dicta (i.e., a “suggest[ion]” that was
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not necessary to the result, since the court ruled for the United States). St. Bernard Parish, 887

F.3d at 1367 n.14. And St. Bernard Parish certainly did not endorse that dictum—to the

contrary, it expressly reserved judgment on “[w]hether the John Hardwicke approach is correct.”

Id. As discussed below, the fundamental logic of St. Bernard Parish—and the precedent on

which the Federal Circuit relied—make clear that the John B. Hardwicke dicta is wrong and that

Plaintiffs’ reliance on that dicta does not cure their failure to prove causation.

       First, Plaintiffs misinterpret the discussion of the John B. Hardwicke case in St. Bernard

Parish. In John B. Hardwicke, a dam near plaintiffs’ property decreased flood risk and then a

second dam later increased flood risk. 467 F.2d at 488-89. In that case, the court properly

looked at the overall impact of government action to determine that flood risk was still far less

than if there had been no government action at all. St. Bernard Parish, 887 F.3d at 1364. In St.

Bernard Parish, the Federal Circuit cited John B. Hardwicke to demonstrate “that the causation

analysis must consider the impact of the entirety of government actions that address the relevant

risk.” 887 F.3d at 1364 (emphasis added) (citing John B. Hardwicke, 467 F.2d 488, after

discussing the same concept in Sponenbarger). Plaintiffs ignore this overarching point and

mistakenly state that the primary reason the St. Bernard Parish plaintiffs failed to prove

causation was that they “ignor[ed] the impact of ‘subsequent government action designed to

mitigate that risk[.]’” Pls.’ Reply 29 (emphasis in original) (quoting St. Bernard Parish, 887

F.3d at 1367). Plaintiffs’ reasoning is not consistent with the Federal Circuit’s direction to

consider “the impact of the entirety of government actions that address the relevant risk.” St.

Bernard Parish, 887 F.3d at 1364. Likewise, Plaintiffs’ reasoning ignores St. Bernard Parish’s

holding that it is legal error to focus on “isolated government actions” when considering the

comparative, no government action condition. Id. Said differently, St. Bernard Parish does not



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stand for the limited proposition that only subsequent government actions can mitigate risk in a

causation analysis; St. Bernard Parish properly held that a plaintiff may not meet its burden to

prove causation without accounting for all government actions that “address the relevant risk.” 2

       Plaintiffs’ fallacy is underscored by the section of the opinion on which Plaintiffs rely.

The sentence and footnote they cite are located in the section of the opinion explaining that

separate actions that are not the result of the same project must be considered if they are “directly

related to preventing the same type of injury on the same property where the damage occurred.”

Id. at 1366. Absent from the Court’s description of the holding is any distinction between the

order of the actions. The Federal Circuit merely stated that it had no occasion to decide “whether

the John Hardwicke approach is correct” because it was irrelevant to the St. Bernard Parish

facts. Id. at 1367 n.14. Nothing more. Accepting Plaintiffs’ position would require this Court to

ignore binding Federal Circuit precedent, which is precisely what Plaintiffs have done.

       Second, the remaining cases cited in St. Bernard Parish further reveal that there is no

exception for the Ideker claims. Plaintiffs claim that “none of the cases cited by the Federal

Circuit involved a factual situation where the Government . . . first decrease[d] and then

increase[d] the risk of flooding generations later, as is the case in Ideker.” Pls.’ Reply 24-25

(emphasis in original). Plaintiffs are wrong again. As mentioned above, the Federal Circuit

cited favorably John B. Hardwicke, which involved first a risk-decreasing action then a risk-

increasing action, as an example of a case that properly considered all government action. The

Federal Circuit also relied directly on Arkansas Game & Fish Commission, which involved a

factual scenario similar to Ideker, in that the government actions that allegedly increased the risk



2
  The footnote Plaintiffs point to noting the John B. Hardwicke Court of Claims’ suggestion that
the ordering of risk-increasing and risk-reducing actions may matter in some situations is not the
St. Bernard Parish holding. St. Bernard Parish, 887 F.3d at 1367.
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of flooding took place many years after the risk-decreasing actions by the government. St.

Bernard Parish, 887 F.3d at 1364-65 (citing Ark. Game & Fish Comm’n, 736 F.3d at 1372 n.2

(“clarify[ying] that the appropriate analysis for causation considers all governmental actions”)).

       In Arkansas Game & Fish Commission, the plaintiff claimed that the Army Corps of

Engineers’ (“Corps”) operation of the Clearwater Dam (“Dam”) during the 1990s caused

increased flooding on its property. 736 F.3d at 1367-68. The Dam was constructed in the 1940s

“for flood control purposes.” Id. Shortly thereafter, the Corps adopted a water control plan to

control river flows “to reduce the adverse effects of flooding in downstream areas.” Ark. Game

& Fish Comm’n v. United States, 637 F.3d 1366, 1367 (Fed. Cir. 2011), rev’d and remanded by

568 U.S. 23 (2012). Decades later, from 1993 until 2000, the Corps authorized deviations from

the water control plan at the request of farmers that extended flooding on plaintiff’s property.

Ark. Game & Fish Comm’n, 736 F.3d at 1368. The deviations increased flooding beyond the

natural pre-dam flooding patterns. Id. at 1371, 1372. In other words, after first decreasing the

risk of flood damage (i.e., the construction of the Dam), the Corps then increased the risk of

flood damage generations later (i.e., deviating from the water control plan in a way that increased

flooding), resulting in flooding that was even worse than pre-dam conditions. Id. at 1372 n.2; St

Bernard Parish, 887 F.3d at 1364-65 & n.11.

       Here, Plaintiffs claim that the Corps’ operation of reservoirs and modification of Bank

Stabilization and Navigation Project (“BSNP”) structures, since 2004, caused increased flooding

on their properties. The Mainstem Reservoir System became fully operational in 1967. Ideker

Farms, Inc. v. United States, No. 14-183L, 2018 WL 1282417, at *3 (Fed. Cl. Mar. 13, 2018).

Construction of the BSNP structures began as early as 1890 and the project was deemed

“complete” in 1981. See Tr. 7972:3-7974:11 (Remus); 8990:12-16, 8991:2-8 (Chapman). U.S.



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Post-Trial Br. 15 (ECF No. 375). 3 The Court found that each of these structures benefitted and

aided flood control. Ideker Farms, Inc., 2018 WL 1282417, at *3. Decades later, in 2004 and

2006, the Corps changed the way it operated the reservoirs and physically altered some of the

BSNP structures. Id. at *9-11. This Court found that these changes made flooding more severe

than would have occurred without those changes. Id. at *103-05. In other words, decades after

first decreasing the risk of flooding (i.e., the construction of reservoirs, BSNP, and levees), the

Corps then allegedly increased the risk of flooding (i.e., by changing the water control manual

and altering some of the BSNP structures). This is analogous to the timeline of events addressed

in Arkansas Game & Fish Commission in which the Federal Circuit “clarified that the

appropriate analysis for causation considers all government actions.” St. Bernard Parish, 887

F.3d at 1364 (citing Ark. Game & Fish Comm’n, 736 F.3d at 1372 n.2).

       Moreover, several additional cases cited by the Federal Circuit in St. Bernard Parish

involve or favorably discuss similar timelines of initial risk-reducing and later risk-increasing

activity. See, e.g., Cary v. United States, 552 F.3d 1373, 1375 (Fed. Cir. 2009) (describing the

numerous risk-reducing fire suppression techniques that occurred prior to the alleged risk-

increasing fire suppression technique); Danforth v. United States, 308 U.S. 271, 286-87 (1939)

(opining that a Fifth Amendment taking could occur if, after accounting for the benefits received

from the previously-constructed riverside levees, the more-recently-constructed setback levees

caused flooding greater than what would occur without any levees); Accardi v. United States,

599 F.2d 423, 429 (Ct. Cl. 1979) (explaining that plaintiffs failed to show that their property was

not subjected to additional flooding in 1974 than what would have occurred prior to the



3
 The Corps also constructed and repairs a series of levees that help contain flooding. Ideker
Farms, Inc., 2018 WL 1282417, at *2, *102 n.51; see also infra p. 7-8.


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construction or operation of a dam built in 1964). It was not an oversight that, after citing these

cases, the Federal Circuit reiterated that “the causation analysis requires the plaintiff to establish

what damage would have occurred without government action,” without any delineation of the

order of actions taken. St. Bernard Parish, 887 F.3d at 1363.

       Even if Plaintiffs’ reliance on dicta from John B. Hardwicke were correct, they

incorrectly assume that all risk-reducing actions preceded the 2004 changes to the Master

Manual and implementation of the Missouri River Recovery Program. Instead, the United

States’ actions that reduce the risk of flooding on Plaintiffs’ properties have continued long after

dam construction. Each year, the United States spends millions on the maintenance and

operations of the dams and BSNP structures that reduce the risk of flooding on Plaintiffs’

properties. Tr. 6549:12-6550:2, 6550:21-23, 6551:25-6552:5 (Ponganis); 9208:19-9209:8,

9211:19-21, 9212:7-9213:4 (Pridal); 8990:12-8991:1, 9016:23-9019:13 (Chapman). After each

major flood, the Corps repairs and rebuilds the federal and non-federal levees that provide flood

protection to Plaintiffs’ properties. Tr. 12061:11-20, 12063:23-12064:18, 12065:12-25 (Flere);

Tr. 12600:10-12602:5, 12613:14-19, 12613:19-21, 12617:18-12618:19, 12638:18-12639:4,

12641:19-22, 12642:22-25, 12644:5-8 (Kneuvean). Indeed, after federal and non-federal levees

breached or overtopped in 2007, 2008, 2010, and 2011, the Corps rebuilt and setback levees to

provide increased flood risk reduction in future years. Tr. 12639:24-12641:16, 12641:24-

12642:13, 12643:6-7, 12644:10-16 (Kneuvean); 12066:24-12067:10, 12068:24-12069:12,

12075:6-19 (Flere). Following the 2011 flood, the Corps repaired the many BSNP structures

damaged by the extreme flows. Tr. 9212:17-24, 9218:20-24, 9320:24-9321:15, 9326:10-24

(Pridal). Plaintiffs’ argument, even if it were a correct statement of the law, improperly ignores




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the myriad actions of the United States subsequent to dam construction that reduced the effects

of flooding on their properties. 4

        Accepting Plaintiffs’ claim that an exception exists based on a single sentence and

footnote, requires this Court to ignore St. Bernard Parish and other cases that the Federal Circuit

used to demonstrate the correct causation standard.

        b.      Plaintiffs cannot avoid their failure of proof on causation by making arguments
                unrelated to causation.

        After avoiding any mention of Arkansas Game & Fish Commission for purposes of

causation, Plaintiffs argue that distinguishing Ideker from St. Bernard Parish is “consistent with,

if not dictated by, the admonition in Ark. Game & Fish II that ‘[t]he determination whether a

taking has occurred includes consideration of the property owner’s distinct investment-backed

expectations.’” Pls.’ Reply 31. 5 On this basis, Plaintiffs effectively claim that the United States

did not provide the appropriate level of flood protection. Id. (“Plaintiffs have reasonable

investment-backed expectations of a certain level of flood control . . . .”). These arguments fail.




4
  The building and maintenance of a dam, or a similar flood-risk-reducing structure, is an
ongoing benefit that usually requires significant investment for decades or more. This is
certainly true in this case, where the Corps has repaired and improved the dams, levees, and
BSNP structures. Plaintiffs’ exclusive reliance on the date the Corps constructed flood-risk-
reducing structures ignores the complex nature and requirements of those structures. Without the
United States’ support and improvement of those structures over many decades, they would not
provide the same flood-risk-reducing benefit.
5
  Plaintiffs state that they each obtained “title to their lands well after the construction of the
System and BSNP was completed.” Pls.’ Reply 32 n.11. But many Plaintiffs also obtained title
to their lands after many of the complained of actions already occurred. Compare Column F of
Tables 3-7 of U.S. Post-Trial Br. (ECF Nos. 375-3-7) with Table 1 of U.S. Post-Trial Br. (ECF
Nos. 375-1) (showing years of Plaintiffs’ acquisition and years of complained-of government
action); see also U.S. Post-Trial Br. 13; Tr. 7867:25 to 7868:3 (Farhat) (explaining that releases
for threatened and endangered species have occurred since 1986).


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        First, a plaintiff’s reasonable investment-backed expectations, while a requirement for

determining the United States’ liability for a taking, do not supplant or transform the separate

element of causation. 6 Ark. Game & Fish Comm’n, 568 U.S. at 38. In fact, the plaintiff in

Arkansas Game & Fish Commission did not acquire its property until after construction of the

Dam. 736 F.3d at 1372 n.2; Ark. Game & Fish Comm’n v. United States, 87 Fed. Cl. 594, 600-

03 (2009), aff’d, 736 F.3d 1364 (Fed. Cir. 2013). Second, Plaintiffs certainly do not hold a

property interest protected by the Fifth Amendment in a certain level of federal flood control that

could somehow be “taken” if that federal flood protection was reduced. Claims that Plaintiffs

have a reasonable investment-backed expectation in the government providing a certain level of

flood protection amount to a claim that the United States owes a duty to Plaintiffs to provide that

protection, and allegations that the government has not done so amount to a claim in tort.

Nicholson v. United States, 77 Fed. Cl. 605, 624, (2007) (quoting Sponenbarger, 308 U.S. at

266).

        c.     Dismissing Plaintiffs’ claims for failing to prove causation is consistent with the
               purpose of the Fifth Amendment.

        Lastly, Plaintiffs argue that extending St. Bernard Parish to the situation here is

inappropriate because “no claim of taking by flooding with respect to the Missouri River,

practically speaking, could ever be maintained if SBP were applied so broadly.” Pls.’ Reply 33.

Plaintiffs posit that “it would be impossible for a situation to arise where the risk of flooding

would be greater after the construction of the System dams than beforehand.” Id. This argument




6
  Plaintiffs seemingly concede this point when noting that this Court “recognize[d] that the issues
of the severity and duration of the flooding; the reasonable expectation of flooding, including
reasonable investment backed expectations; and the net benefits analysis . . . are part of
determining the appropriation element, not the causation element. . . .” Pls.’ Reply 25 n.8
(emphasis added).
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is a non sequitur and irrelevant: the fact that Plaintiffs’ claims fail does not mean any potential

claim would fail. As Justice Ginsburg recognized in Arkansas Game & Fish Commission, not

every plaintiff will satisfy the requirements to establish a Fifth Amendment taking. 568 U.S. at

37.

       The fact that Plaintiffs’ claims fail under the causation standard is not a flaw in the

causation standard; it is a flaw in Plaintiffs’ claims. Plaintiffs’ concession that government

action has conferred so many benefits on their properties that it would be “impossible” to show

their flooding was worse than if the government had never acted requires dismissal of their

claims—and is exactly the right outcome. It is undisputed that Plaintiffs’ properties are better off

than had the United States never built the reservoirs, BSNP, and levees. To hold the United

States liable here when Plaintiffs concede they would be worse off had the government never

built those structures would “far exceed even the ‘extremist’ conception of a ‘taking’ by flooding

within the meaning of the Fifth Amendment.” 7 St. Bernard Parish, 887 F.3d at 1364 (quoting

Sponenbarger, 308 U.S. at 265). As such, Plaintiffs’ claims must be rejected and their motion

for reconsideration denied.

II.    Plaintiffs’ Case Depends, in Part, on the United States’ Alleged Failure to Act.

       “[T]akings liability does not arise from government inaction or failure to act,” it “must be

premised on affirmative government acts.” Id. at 1361. The Federal Circuit reconfirmed this




7
 Before building flood control infrastructure across the country, Congress contemplated in the
1928 Flood Control Act that the United States would not be liable for flooding. 33 U.S.C. §
702c (“No liability of any kind shall attach to or rest upon the United States for any damage from
or by floods or flood waters at any place”). In enacting that legislation, Congress evinced a
desire to fund flood risk mitigation projects, but only if doing so would not subject the federal
government to future liability based on the operation of flood-control projects. See Nat’l Mfg.
Co. v. United States, 210 F.2d 263, 270 (8th Cir. 1954).
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long-standing principle in Love Terminal Partners, L.P. v. United States, No. 2016-2276, 2018

WL 2090316, at *5 (Fed. Cir. May 7, 2018).

       For example, in St. Bernard Parish, plaintiffs unsuccessfully argued that the United

States’ alleged “decisions not to armor the banks and not to repair erosion along the banks [of a

navigation channel] caused the channel to widen, which allowed [the channel] to ‘carry

significantly more water at higher velocities.’” 887 F.3d at 1360 (citation omitted). The

plaintiffs also asserted that the government’s alleged “failure to maintain” the channel caused

their properties to flood: “Thus, the government’s failure to properly maintain or to modify the

banks played a significant role in plaintiffs’ takings theory and the Claims Court’s analysis.” Id.

       Here, Plaintiffs claim their “theory and proof of causation is predicated on the affirmative

acts . . . [that] consist of alleged System and BSNP Changes,” but this ignores Plaintiffs’ own

evidence. Pls.’ Reply 27-28. As the Court correctly noted, Plaintiffs’ expert’s opinion that the

Corps’ actions caused increased water surface elevations was based, in part, on the “failure to

maintain [the BSNP].” Ideker Farms, Inc., 2018 WL 1282417, at *38. As such, Plaintiffs’

claims depend on the United States’ alleged failure to act, which cannot serve as the basis of

takings liability. Because Plaintiffs have not proven their claims based entirely on affirmative

acts, their claims fail, and their motion for reconsideration should be denied.

                                          CONCLUSION

       The Federal Circuit’s decision in St. Bernard Parish dictates that Plaintiffs’ motion for

reconsideration be denied. Plaintiffs’ causation proof failed to account for all of the United

States’ actions that impacted flood control on their properties, and their case depends, in part, on

the United States’ alleged failure to act, which cannot serve as the basis of takings liability.




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Respectfully submitted this 31st day of May, 2018.


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